                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION – DETROIT

In re:
                                                                    Case No. 11-46502
GAETANO T. RIZZO,                                                   Chapter 7
                                                                    Hon. Walter Shapero
      Debtor.
________________________________/

JERRY D. COOK, Individually and as Trustee
Of the Jerry D. Cook Trust                                          Adv. Pro. No. 12-05747

         Plaintiff,
v.

GAETANO T. RIZZO,

      Defendant.
_________________________________/


     AMENDED OPINION REGARDING DEFENDANT’S MOTION TO DISMISS AND
                   MOTION FOR SUMMARY JUDGMENT
                                          INTRODUCTION
      The Plaintiff seeks to revoke the Defendant’s discharge on the grounds that he omitted

various property interests from his bankruptcy schedules. The Defendant moved to dismiss for

failure to state a claim and for summary judgment. Defendant’s motions are granted in part and

denied in part. This Amended Opinion supersedes the Court’s prior opinion (docket #61).


                                          BACKGROUND
      Jerry D. Cook (“Plaintiff”) and Gaetano T. Rizzo (“Defendant”) were business partners in

real estate ventures, primarily a condominium enterprise in Arkansas involving a number of

related entities in which they held management and ownership interests. Briefly stated, their

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relationship broke down, resulting in litigation between the two, directly or indirectly involving

some of the entities, as early as 2008. Plaintiff obtained a large judgment against Defendant in

Arkansas state court. At least two of the entities in which they actively participated, Lochmoor

Club, LLC and Landquest Communities of Arkansas, LLC, filed for bankruptcy in this Court in

2008 and 2009, respectively. In 2011, Defendant filed bankruptcy in this Court, disclosing his

interests in a number of entities. Plaintiff was timely listed as a creditor and received notice of

the bankruptcy, but did not initially appear at the meeting of creditors, object to the discharge, or

otherwise participate. Defendant was discharged on October 3, 2011.

    Exactly one year later, Plaintiff filed this adversary proceeding to revoke Defendant’s

discharge under 11 U.S.C. § 727(d) on essentially grounds that Defendant intentionally omitted

from his bankruptcy schedules a residence worth $182,000 and various entities in which

(according to the amended complaint) he held an interest, including but not limited to:

                               Landquest Communities of Arkansas, LLC
                               Landquest Realty, LLC
                               Pinnacle Woods Creek, LLC
                               Crestmark, LLC
                               Garland Market Place, LLC
                               Brougham Properties, LLC
                               GTR Inwood Holdings, LLC
                               JJC Group, LLC
                               Washington Partners, LLC
                               Washington Land Co., LLC
                               Foriz Land Co., LLC
                               Washington Development Co., Inc.
                               Allencroft, LLC

(collectively, “the Contested Entities”). Plaintiff alleges to have then just learned of Defendant’s

interests in these entities after a Rule 2004 examination of Dominic Geric, which took place in



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November 2011 in Mr. Geric’s bankruptcy case in this Court. Geric was also a partner with

Plaintiff and Defendant in various ventures.1

     Defendant, in lieu of an answer, moved to dismiss the complaint for failure to state a claim

for which relief can be granted. The Court ruled that the complaint was indeed deficient and

allowed Plaintiff the opportunity to amend. After the amended complaint was filed, Defendant

filed the present “Motion to Dismiss Adversary Proceeding and for Summary Judgment” on the

basis that the amended complaint was still deficient because it lacked facts supporting the

allegation that Defendant owned such assets at the time he filed the petition and intentionally

omitted them from his schedules. The Court again agreed with Defendant and required Plaintiff

to file an affidavit to support his largely conclusory allegations. Plaintiff then provided an

affidavit from Charles M. Kester, an Arkansas attorney who represented Plaintiff in the Arkansas

litigation, which took place in both state and federal courts. That affidavit contained no

supporting documentation. Once again, Defendant objected to the sufficiency of the facts that

Plaintiff presented. The Court again required that Plaintiff support the affidavit with relevant

documentation.

     Plaintiff then submitted an amended affidavit that contained supporting documents mostly

from the lengthy legal proceedings circa 2008. Although it was 423 pages long, it contained

little, if any, direct support for Plaintiff’s allegations as should bear on this opinion, as it

essentially recaps the history of the extensive litigation between these parties. However, it did

contain an Exhibit G, which purports to be a statement compilation of the financial condition of


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 Plaintiff was timely listed as a creditor in the bankruptcies of both Mr. Geric and Defendant.
However, he only participated in that of Mr. Geric.
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Defendant and his revocable living trust, prepared at the behest of Defendant (“the Trust

Document”). This document is dated November 15, 2008. Among others, it states that

Defendant jointly owns a “residence” (the address of which is not identified) with his wife that is

valued at $182,000. It also states that Defendant, either individually or as part of his trust, then

had a direct or indirect interest (as will be later discussed) in several of the thirteen Contested

Entities.


                                            JURISDICTION
     This Court has jurisdiction under 28 U.S.C. §§ 1334(b) and 157, and E.D. Mich. L.B.R.

83.50(a). This is a core proceeding under 28 U.S.C. § 157(b)(2)(I).


                                             STANDARDS
     The dismissal of a complaint for failure to state a claim is governed by Fed.R.Civ.Pro.

12(b)(6), which is made applicable to these proceedings by Fed.R.Bankr.P. 7012(b). To survive

a motion to dismiss, “a complaint must contain sufficient factual matter, accepted as true, to

‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 663 (citing

Twombly, 550 U.S. at 556). “[T]he complaint must contain either direct or inferential

allegations respecting all material elements to sustain a recovery under some viable legal

theory.” Followell v. Mills, 317 Fed. Appx. 501, 505 (6th Cir. 2009) (citing Mezibov v. Allen,

411 F.3d 712, 716 (6th Cir. 2005)). Those allegations must be more than labels, conclusions,


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and a formulaic recitation of the elements of a cause of action. Twombly, 550 U.S. at 555

(citation omitted).

     Fed.R.Civ.Pro. 56 provides the statutory basis for summary judgment, and is made

applicable to adversary proceedings via Fed.R.Bankr.P. 7056. Summary judgment is only

appropriate when there are no genuine issues of material fact and the moving party is entitled to

judgment as a matter of law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

“[T]he mere existence of some alleged factual dispute between the parties will not defeat an

otherwise properly supported motion for summary judgment; the requirement is that there be no

genuine issue of material fact.” Id. (emphasis original). A “genuine” issue is present “if the

evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id. at

248. “The initial burden is on the moving party to demonstrate that an essential element of the

non-moving party’s case is lacking.” Kalamazoo River Study Grp. v. Rockwell Int’l Corp., 171

F.3d 1065, 1068 (6th Cir. 1999) (citing Anderson, 477 U.S. at 248).


                                             DISCUSSION
     Landquest Communities of Arkansas, LLC, one of the Contested Entities, was in fact

disclosed on Defendant’s schedules. See Case No. 11-46502, Statement of Fin. Affairs, Dkt. 8,

Sch. B-14 (“LANDQUEST COMM OF ARKANSAS LLC”). Plaintiff can thus state no set of

facts indicating that he is entitled to relief as a result of Defendant’s failure to schedule that

entity and, accordingly, Defendant’s motion to dismiss the complaint is granted as respects it.

     The Trust Document in its format and substance on the matter of ownership of the various

entities is ambiguous or somewhat confusing on its face. On the balance sheet under “Assets”

and thereunder the heading “Investments” it states:
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       Controlled entities – 100% ownership
       Corporations and joint ventures – less than 100% ownership

In the extensive note explaining the indicated “Investments” the first line says:

       Garland Commons, LLC, GTR Investments, LLC and GTR Builders, Inc. hold
       investments in the following entities:

There follows thereunder, in bold type, the mentioned three entities, which might be the parent

entities, but also three other entities, and under each of those six total entities are listed anywhere

between one and sixteen other entities with varying percentages of ownership. At least six of the

Contested Entities appear somewhere on that list. What is not sufficiently clear are which

entities Defendant holds a direct ownership interest, and which are subsidiaries of such. Garland

Commons, LLC, GTR Investments, LLC, and GTR Builders, Inc. are each listed on Defendant’s

schedules. After the initial six bold type heading entries, there is a second group titled

“Controlled Entities – 100% Ownership” under which are listed four other entities, all of which

were listed on Defendant’s schedules and none of which are among the Contested Entities.

There is a third bold type group entitled “Corporations and Joint Ventures – Less than 100%

Ownership” under which are listed 34 other entities, two of which are among the Contested

Entities and many, if not most, of which are listed on Defendant’s schedules.

    Three of the Contested Entities were absent from the Trust Document: Pinnacle Woods

Creek, LLC, Allencroft, LLC, and Crestmark, LLC. However, the documents attached to the

second affidavit indicate that Defendant was an officer or manager for the first two entities

previously noted. In total, the Court concludes that Plaintiff’s exhibits raise a plausible issue and

a genuine issue of material fact as to whether Defendant also had an individual ownership

interest in those two entities. As such, Defendant’s request for relief is denied. The Court will

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however grant Defendant’s motion for summary judgment with respect to Crestmark, LLC

because nothing in Plaintiff’s pleadings or supporting documents substantiates the claim that

Defendant ever owned interests in such an entity.2

     The Trust Document also lists a residence, unidentified by location or address, owned

jointly by Defendant and his wife, valued at $182,000 (with a mortgage of $137,000) plus

personal property valued at $127,000. Defendant did not list ownership of a residence on his

Schedule A and did not list any unexpired lease in Schedule G. He did list a rental or mortgage

payment of $1,333 per month in Schedule J. No secured creditors are listed on Schedule D.

Those facts preclude granting Defendant’s motions with respect to the non-listing of the

residence.

     Finally, the fact that the Trust Document was created in 2008 does not make it so remote in

time as to render it totally untrustworthy for purposes of deciding the pending motions. What is

shown on that document, as compared with what Debtor did disclose in his schedules filed in

early 2011, at the very least, among other things, raises the possibility that what existed in 2008

might have existed in 2011, in whole or in part.

     The Court does agree with Defendant that he was under no duty to disclose on his schedules

any of his interests in entities that were not directly owned by him or his trust, but rather were

subsidiaries of entities he listed on his schedules. A member in an LLC (even a sole member) or

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 Defendant’s bankruptcy schedules listed “CRESTMARK HOMES LLC” and the Trust
Document lists “Crestmark Homes, Inc”. However, there were no facts indicating that
“Crestmark, LLC” (as listed on the amended complaint) was owned by Defendant, or that it even
existed. Several of the numerous entities involved in these ventures have confusingly similar
names. However, Plaintiff has a burden of pleading and substantiating specific facts. For
present purposes, listing a name of an entity that is “substantially similar” is insufficient,
especially where there is no indication that the entity even existed.
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a shareholder in a corporation has no interest in the property or assets of the entity and is under

no obligation to list such subsidiary interests or assets on the schedules. In re Hopkins, 2012 WL

423916 at *1 (Bankr. W.D. Mich. 2012) (citations omitted); Mich. Comp. Laws § 450.4504(2);

In re Shepard, 2011 WL 1045081 at *7 (Bankr. D. Md. 2011).

    Plaintiff also pled for relief under § 727(d)(3), which provides for revocation of discharge if

a debtor commits an act specified in § 727(a)(6) (refusal to obey a lawful court order or, under

certain circumstances, refusal to respond to a material question or to testify). Given that

Plaintiff’s argument is that Defendant testified at the meeting of creditors, but provided false

testimony that his schedules were complete and accurate, this Court does not find that provision

applicable. Defendant did not refuse to testify, rather, it is alleged that he testified falsely. Such

allegations are encompassed by Plaintiff’s other count under § 727(d), which forms the essential

basis of the complaint. Defendant’s motion for summary judgment is granted with regard to

§ 727(a)(6) and (d)(3).


                                            CONCLUSION
    Incident to the conclusions set forth herein, it is to be noted that § 727(d) allows for setting

aside a discharge where that discharge was obtained through the fraud of the debtor and the

requesting party did not know of the fraud until after the discharge was granted. This latter

requirement involves a factual inquiry that cannot be decided in the context of the pending

motions and might very well be an issue in this proceeding. The applicable law is that the

omission of assets from schedules must be found to have been intentional and fraudulent in fact

and likely does not include implied fraud or fraud in law. Intent too is a question of fact.



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    Defendant’s Motion to Dismiss Adversary Proceeding and for Summary Judgment is, to the

extent indicated, granted in part and denied in part. Disregarding the order presented for entry

pursuant to the Court’s prior opinion, Defendant shall prepare and present under the applicable

rule an order consistent with this amended opinion, including a provision requiring Defendant to

file an answer to the amended complaint within twenty (20) days of the entry of that order.

Following the entry of that order, the Court will be issuing a scheduling order governing further

proceedings.

                                                 .

Signed on October 11, 2013
                                                 ____ __/s/ Walter Shapero_    ___
                                                    Walter Shapero
                                                    United States Bankruptcy Judge




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